       Case 2:14-cv-00804-NBF          Document 23        Filed 03/03/15     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA

 PAMELA WOLOSKY                                   CIVIL ACTION

       Plaintiff,                                 No. 2:14-CV-00804-NBF

 vs.

 TRINITY AREA SCHOOL DISTRICT,
 PAUL KASUNICH and AMY MCTIGHE,

       Defendant.

STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P 41 (a)(1)(P)(ii)

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel that the above-captioned action is voluntarily dismissed pursuant to Federal

Rule of Civil Procedure 41 (a)(1)(P)(ii) and that the Court may enter an order accordingly.

                                            WIENAND & BAGIN



                                             BY:_/s/ Christian Bagin
                                                    Christian Bagin, Esquire
                                                    Attorney for Plaintiff,
                                                    Pamela Wolosky

                                             ANDREWS & PRICE



                                             BY:__/s/ John W. Smart
                                                   John W. Smart, Esquire
                                                   Attorney for Defendants,
                                                   Trinity Area School District, Paul Kasunich
                                                   and Amy McTighe
